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                      Exhibit 9
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               IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF DELAWARE



                              )
IN RE:                        )       Chapter 11
                              )
TRIBUNE COMPANY, et al.,      )       Case No. 08-13141 (KJC)
                              )
                              )       Courtroom 5
                              )       824 Market Street
________________Debtors._____ )       Wilmington, Delaware

                                       September 15, 2010
                                       11:04a a.m.


                      TRANSCRIPT OF PROCEEDINGS
                BEFORE THE HONORABLE KEVIN J. CAREY
                   UNITED STATES BANKRUPTCY JUDGE

APPEARANCES:


For Debtors:                       Sidley Austin LLP
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                                                                                42
 1   on the submissions and given the present posture of the case,

 2   despite the legitimate concern that the U.S. Trustee has

 3   pointed out and which the Court shares, it seems to me that

 4   this is absolutely the right thing to do, in connection with

 5   the forming this special committee, you know, pulling away from

 6   the full board, which is justly or not, viewed as being too

 7   connected or controlled by management or -- and ownership, in

 8   light of the fact we're on the eve of a mediation, this mini

 9   fresh start seems to me to be really a good idea.                 Tell me why

10   I'm so off base in that view?

11              MR. KLAUDER:     Your Honor, I'm -- I think you

12   probably took from me -- or I hope you took from the objection

13   that we weren't challenging the corporate governance issue of

14   creating the special committee, nor do I think it would be

15   appropriate, at least in this vein, to do that.             Our questions

16   really went to the necessity of bringing in the extra law firm,

17   Jones Day, which we think will be at a significant cost to the

18   state.

19              THE COURT:     Yeah, they're not known as a discount

20   shop, if I understand correctly.

21              MR. KLAUDER:     And by the way, Your Honor, I've had a

22   number of conversations with debtors' counsel and Jones Day, so

23   we've kind of talked through these issues and we ultimately

24   determined that we thought it would be appropriate to at least

25   discuss them with the Court.
